   8:05-cr-00288-JFB-FG3      Doc # 12       Filed: 08/04/05    Page 1 of 1 - Page ID # 19




                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                 Plaintiff,              )
                                         )                 8:05CR288
           vs.                           )
                                         )                     ORDER
DWAYNE YOUMANS,                          )
                                         )
                 Defendant.              )




      Before the court is Attorney Jon S. Natvig’s Motion to Withdraw [11] as
counsel for the defendant. On August 2, 2005, Attorney Michael J. Poepsel
entered an Appearance of Counsel [10]. For that reason, the Motion to Withdraw
[11] will be granted and Mr. Natvig will be deemed withdrawn as attorney of
record.

     IT IS SO ORDERED.

     DATED this 4th day of August, 2005.


                                         BY THE COURT:



                                         s/ F. A. Gossett
                                         U.S. Magistrate Judge
